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  Attorney or Party Name, Address, Telephone 8 FAX                           FOR COURT USE ONLY
  Nos., State Bar No. & Email Address
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      Individual appearing without an attorney
      Attorney for: Maurice and Susan Wedell

                                          UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA - NORTHERN DIVISION

  In re:                                                                    CASE NO.: 9:18-BK-10544-DS
                                                                            CHAPTER: 11
  MARUICE WEDELL AND
  SUSAN WEDELL                                                                         SECOND AMENDED
                                                                                CHAPTER 11 DISCLOSURE STATEMENT
                                                                                       DATED July 18, 2019

                                                                            HearinqIStatus Conference
                                                                            Date:       812912019
                                                                            Time:        1:00 p.m.
                                                                            Courtroom: 201
                                                                            Address:     1415 State Street, Santa Barbara, CA


     This Chapter 11 Disclosure Statement (Disclosure Statement) relates to the accompanying Chapter 11
Plan (Plan). The Plan proposes to restructure the financial affairs of the above-named Debtor. You may be
entitled to vote on the Plan.
    The voting rules are explained below, along with a summary of the Plan and other relevant information.
This Disclosure Statement is explanatory only. The Plan will be the binding document, if it is confirmed by the
court.
     Your rights may be affected. Read these papers carefully and discuss them with your attorney. (If you do
not have an attorney, you may wish to consult one.) Definitions and rules of construction are as set forth below
and in the Plan.
     PART I.SUMMARY OF PLAN
     Article l of the Plan divides creditors and interest holders into the following groups. The precise
treatment proposed for each group is specified in Exhibit A to the Plan. What follows is only a summary.
Please review the Plan carefully.
      Unclassified claims, such as costs of administering this bankruptcy case, generally are entitled to be
      paid in full on the Plan's Effective Date, which is defined in the Plan and should be a short time after the
      Plan is confirmed.


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         Classes 1 and 2 - Secured Claims (divided into subclasses I A , I B , 2A, 26, etc.) consist of claims
        secured by Collateral (such as a mortgageldeed of trust secured by a house, a car loan secured by the
        car, or any other claim secured by a lien on property of the bankruptcy estate), which generally are
        entitled to be paid in full, over time, with interest. Class 1 is reserved for claims secured only by real
        estate that is an individual Debtor's principal residence. Class 2 contains all other secured claims.
        Class 3 - Priority Claims (divided into subclasses 3A, 36, etc.) consists of "priority" unsecured claims
        (for example, wages due to employees that were earned, but unpaid, within 180 days before the
        bankruptcy petition was filed).
        Class 4 - General Unsecured Claims consists of "general" unsecured claims (claims that are not
       entitled to "priority" under the Bankruptcy Code and that are not secured by Collateral), which will
        receive, over time, the following estimated percentage of their claims (or fixed percentage, if the Plan so
        provides): 23%. Excepfion: the Plan may designate a subclass of small "convenience class" claims
       which will be paid in full on the Effective Date, and in rare situations the Plan may designate additional
       unsecured subclasses.
        Class 5 - "Interests": if Debtor is an organization then "interests" means ownership interests - such as
       corporate stock, or a partner's interest in a partnership - and if Debtor is an individual, then Debtor is the
       interest holder. This class will remain unchanged unless otherwise stated in the exhibits to the Plan or
       this Disclosure Statement.
     Article II of the Plan governs "executory" contracts and unexpired leases (a contract is generally defined
as executory when both Debtor and the other party to the contract have not yet fully performed their
obligations, and the unperformed obligations of both parties are significant enough that either party's breach
would excuse the other party from performing). Exhibit B to the Plan specifies whether, on the Effective Date,
each such contract or lease (a) will be "assumed" as an obligation of the reorganized Debtor (generally
meaning that defaults will be cured and the agreement will be reinstated), or (b) will be assumed and then
instantaneously assigned to a specified person, or (c) will be "rejected" (meaning that Debtor will no longer
perform under the agreement, and the other party can file a claim for damages resultiog from that rejection
(§ 502(g)).
     Article Ill of the Plan explains how Debtor will implement the Plan and exhibits to this Disclosure
Statement describe whether payments under the Plan will be made out of cash on hand, future income, sale(s)
of property(ies), or other sources of funding, including supporting calculations. If Debtor is an individual, and if
any holder of an allowed unsecured claim objects, then the value of property to be distributed under the Plan
must be not less than Debtor's projected disposable income for 5 years (60 months) from the first Plan
payment, or for the total payment period under the Plan, whichever is longer (§ 1129(a)(l5)).
     Article IV of the Plan provides that Debtor will be discharged from existing debts as provided in
§ 1141(d). Generally this means that (1) if Debtor is nof an individual then the discharge occurs when the Plan
is confirmed (except for a liquidating Plan), and (2) if Debtor is an individual then (a) the discharge will not
occur unless and until Debtor completes all payments under the Plan (all payments for the Plan Term, as
specified in Exhibit A to the Plan), unless the court orders otherwise in certain situations, and (b) Debtor will not
be discharged from debts that are nondischargeable under § 523. Article IV of the Plan also specifies certain
effects of confirmation, including that creditors are prevented from attempting to collect preconfirmation
obligations except in specific circumstances or in accordance with the terms of the Plan.
     Article V of the Plan includes General Provisions, such as how the Plan can be modified, and a provision
that if the Plan complies with certain technical rules then it can be confirmed even if one or more classes of
creditors or interest holders vote to reject the Plan (§ 1129(b)).
     PART 2. VO'IING ON PLAN, AND OBJECTIONS
     A. Who may vote: You are entitled to vote on the Plan unless: ( I ) your claim or interest is Disputed (as
defined in the Plan); (2) your class is to receive no distribution (presumed to reject the Plan); (3) your class is
"unimpaired" (presumed to accept the Plan -see Exhibit A to the Plan for the proponent's designation of which


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 classes are "impaired") (§ 1124); or (4) your claim is unclassified (and thus is required by law to be paid in full)
 (§§ 1123(a)(l) & 1129(a)(9)(A) & (C)). If your claim or interest is Disputed then you must file a motion to have
 it allowed for voting purposes (you must do that soon, so that your motion can be heard before votes are
 counted) (Rule 3018(a)).
       B. Who may vote in more than one class: If your claim has been allowed in part as a secured claim
 and in part as an unsecured claim, or if you otherwise hold claims or interests in more than one class, you are
 entitled to accept or reject the Plan in each capacity and you should return one ballot for each claim or interest.
      C. How to vote: Fill out and return the attached ballot (if you are entitled to vote) so that it is received by
 the deadline and according to the other instructions in the enclosed order or court-approved notice regarding
 voting and procedures.
     D. Effect of vote: The Plan will be confirmed only if (1) it is accepted by each impaired class, or (2) it is
accepted by at least one impaired class (without counting the votes of "insiders," as defined in 9 lOl(31)) and
the court determines that the Plan is "fair and equitable" (as defined by § 1129(b)) to all rejecting classes of
creditors, and (3) it meets all of the other legal requirements for confirmation. A class of creditors accepts the
Plan if a majority in number and at least two-thirds in dollar amount of the claims in that class are timely voted
in favor of the Plan (3 1126(c)). A class of interests accepts the Plan if at least two-thirds of those interests are
timely voted in favor of the Plan (§ 1126(d)).
     E. Solicitation of votes: Nobody is permitted to solicit your vote to accept or reject any plan during the
bankruptcy case unless, at or before the time of the solicitation, you have been provided with the plan or a
summary of the plan and a written disclosure statement that has been approved by the court as containing
adequate information for you to make an informed judgment about the plan. Then any person may solicit your
vote for or against the Plan.
     F. Who may object: Even if you are not entitled to vote, you can object to confirmation of the Plan if you
believe that the requirements for confirmation are not met (and if you are a party in interest in this bankruptcy
case). For the deadlines and procedures, see the enclosed order or court-approved notice.
      PART 3. OTHER INFORMATION
     A. BackgroundlRisk Factors. Attached as an exhibit to this Disclosure Statement is a brief description
of: (1) Debtor's history: the events leading to the chapter 11 bankruptcy, and any other relevant history of
Debtor's business and financial affairs; (2) significant events during the bankruptcy case; and (3) exit strategy:
steps taken or planned to fix the problems that led to bankruptcy, and the principal risk factors in future.
    B. Litigation. Debtor might sue you if, for example, you received a transfer of funds or any other
property from Debtor that is avoidable under the Bankruptcy Code. Other types of claims also may be
made, and the Plan proponent has not completed investigations, but the anticipated and pending legal
proceedings by or against Debtor are listed in an exhibit to this Disclosure Statement.
      C. Feasibility: The Plan cannot be confirmed unless the court finds it feasible. A Plan is feasible if
confirmation of the Plan is not likely to be followed by Debtor's liquidation or need for further financial
reorganization, unless such liquidation or reorganization is proposed in the Plan (§ 1129(a)(11)). The Plan
proponent believes it is feasible because, both on the Effective Date and for the duration of the Plan, the
proponent estimates that Debtor will have sufficient cash to make all distributions. Projected revenues,
expenses, and proposed payments to creditors during the Plan Term are specified in Exhibit C to this
Disclosure Statement.
     D. Tax consequences of the Plan: (1) Tax consequences to the debtor: The tax consequences to
Debtor of the Plan's implementation, including but not limited to tax attribute reduction and the recognition of
gain or loss on any sale of Debtor's assets (and the projected tax thereon), have been taken into account and
are properly reflected in the financial projections attached to this Disclosure Statement and Exhibits A and B to
the Plan.



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       (2) Tax consequences to holders of claims and interests: You should consult your own accountant,
  attorney andlor advisors as to the tax effect to you of Plan transactions.
       [Note: Pursuant to 5 1125(a)(I), the c o u ~ t may require a more detailed description of the tax
  consequences of the Plan to the debtor and other interested parties, including holders of claims and interests,
  if the c o u ~ fdetermines that such information is required in view of the Plan's complexity, the benefit of
  additional information to creditors and other parties in interest, and the cost of providing additional infor~nation].
       E. Liquidation analysis: 'The Plan cannot be confirmed unless the court finds that, for each impaired
  class of claims or interests that has not accepted the Plan, the class will receive or retain no less than if
  Debtor's bankruptcy estate were liquidated under chapter 7 of the Bankruptcy Code. A liquidation analysis is
  attached as an exhibit to this Disclosure Statement.
        F. Special procedures: This Disclosure Statement and the acconipanying Plan, with exhibits, are the
   principal documents for Debtor's proposed financial restructuring, but the court may authorize more lengthy
  documents to be filed separately (a Plan supplement), or may authorize shorter documents to be served on
  some classes. Streamlined procedures are encouraged, both to save costs and because that may provide
  creditors and other parties in interest with more meaningful disclosure. For example, the court may consider:
  (I)  whether, instead of receiving the full Plan and Disclosure Statement, some classes should receive a "court-
  approved summary" such as a brief table showing the proposed treatment of each class, with prominent
  instructions on how to request a copy of the full documents andlor review them online (see 5 1125(b) & (c) and
  Rule 3017(d)(l)); (2) whether to establish special procedures for transmitting documents and information "to
  beneficial holders of stock, bonds, debentures, notes, and other securities" (see Rule 3017(e)), (3) whether to
  adjust any deadlines (see Rule 9006(c)), and (4) whether to adopt any other special procedures.


  I declare under penalty of perjury under the laws of the
(United States that the foregoing and the factual
( assertions in the attached exhjbg? are true and correct.
                                                                                1
                                                                                1
                                                                                    Printed name of signer:

                                                                                    Maurice L. Wedell
                                                                                    Organization (if applicable):
 Signature:                              ,L,   ,,! ..
                                                ,       ..   -
                                                                                I
                                        n proponenr
                                         ,
                                         --'
                                           -I                                   I Title (e.g., President):


                                                                                I   Law firm: Vaughn C Taus, Attorney at Law




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     Attorney Certification (subject to what the judge may permitlrequire, this form is not mandatory, but if it is
     used then it and its exhibits must not be altered without disclosurelauthorization as provided below):
     I, the undersigned, am legal counsel for the above-referenced Plan proponent, and I hereby certify the
     following: ( I ) the foregoing Disclosure Statement and attached exhibits are true and correct copies of the
     latest versions of the local forms of disclosure statement and exhibits approved for use by the United States
     Bankruptcy Court for the Central District of California; (2) modifications have been made as directed or
     permitted by written order (docket no. )      (or, if the presiding judge permits, by other authorization such as
     oral approval by the court on the record - specify:                              ); and (3) no other alterations or
     modifications to any provision of such form have been made except as shown by a "redlined" version of this
     Disclosure Statement (docket no. )      or as follows:



     I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

1    Date:                      Signature:                                            , Print name: Vaughn C. Taus                                   1
     Exhibits to Description                                                    Exhibits to Description
     Plan                                                                       Disclosure
                                                                                Statement
          A            Treatment of Claims and Interests                             C      Projected Revenues and Expenses
                       Treatment of Executory Contracts and
          B                                                                             D           Recent Financial History
                       Unexpired Leases
    Additional         Description                                                                  Secured Claims, and any § III I (b)
                                                                                        E
    Enclosures                                                                                      Analysis and Priority Claims
                       Ballot                                                           F           General Unsecured Claims (Class 4)
                       Order or Notice Regarding Deadlines
                                                                                       G            Liquidation Analysis
                       and Procedures
                                                                                       H            EndnoteslContinuation Sheets




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                             EXHIBIT A
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                               MAURICE AND SUSIE WEDELL
                               STATEMENT OF THE CASE
                                   SECOND AMENDED
                                 CHAPTER 11 PLAN AND
                                DISCLOSURE STATEMENT
                                   9: 18-BK-10544-DS


                                      INTRODUCTION

Debtors own a winery and incurred substantial debt in connection with expansion of the
winery and expensive litigation. Debtors filed this chapter 11 bankruptcy to allow for
the orderly sale of the winery's inventory in the manner that will provide the greatest
repayment to creditors. Debtors have niade great strides to this end. Confirmation of
the debtors' chapter 11 plan will allow for immediate distribution of $45,000 to
creditors, followed by 59 monthly payments. The plan provides for repaynient of a total
of $175,103 to creditors. The chapter 11 plan will pay 18.4g0/0 of the allowed general
~,~nsec~,lred
            claims. This compares favorably with the liquidation value of practically zero
for debtors' assets, if the chapter 11 plan is not confirmed and the debtors' case was
converted to one 1,lnder chapter 7 of the bankrl-~ptcycode.

                                       II
                                STATEMENT OF FACTS

A.     History of Debtors' finances

Maurice Wedell and Susie Wedell are married and have two adult sons. IYr. Wedell has
been a Certified Tax Preparer since 1979 and operates his practice under his own
name. Mr. Wedell specializes in acco~~nting,bookkeeping and management of high end
Los Angeles restaurants and has a regular stable of clients. Susie Wedell is a special
education aide and has been employed in by the Lucia lYar Unified School District, in
Arroyo Grande, California, since 2005.

I n 1994 Mr. and Mrs. Wedell obtained a license and began operation of Wedell Cellars,
specializing in premium central coast Chardonnay and Pinot Noir wines. The winery
began sales in 1996 and obtained an independent bond in 2010. The winery remained
financially sound through 2013. For the five years through 2011 the Wedells sold
approximately 1,000, 12 bottle cases of wine, per year. The wines sold for $40 to $120
per bottle, retail.

Throughout the winery's operations, the wines have been made by consulting wine
makers, in space leased at commercial production facilities. The winery does not have
its own facility or staff. Through 2013 Mr. Wedell conducted all of the sales, to wine
distributors, who purchased and resold the wines wholesale and to wine brokers, who
brokered sales and collected a commission. The wines were sold in California, Arizona
and Nevada.
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 Beginl-ling in late 2012 a representative of one of Wedell Cellars' wine distributors
 proposed taking over sales and expanding the brand out of the west, to be nationwide.
 I n 2012 the Wedells introduced the Wavertree label to bottle and sell a lower price line.
 The winery's production increased to 2,000 cases in 2012 and 3,000 in 2014. This
 arrangement did not work out well for the Wedells.

 I n order to achieve this expansion the Wedells borrowed significant amounts of money
 ,from commercial lenders and personal loans from friends and family. These debts
 constitute the most significant portion of the approximately $800,000 in unsecured
 debts being addressed in the bankruptcy.l

The new brand manager did expand sales to 18 states. However, this was
accomplished by aggressive disco~~nting   and other incentives to customers. Incentives
include, for example, providing an additional bottle to a customer for each case
purchased. While these techniques are common to increase sales in the wine industry,
they come at a significant cost. This is a bigger problem with the more expensive line
of wines sold by Wedell Cellars.

The winery's profit margin on sales slumped to an unsustainable level. Then the person
who had promoted the expansion of production and nationwide sales, stopped his
effort. As a result, sales declined steeply and rapidly.

Unfortunately, between 2011 and 2013, the Wedells were also engaged in extremely
expensive, protracted litigation with a vineyard from which a major portion of their
Pinot Noir grapes were sourced. Even though the Wedells recovered an award of
$200,000 in arbitration, their legal fees were $460,000. The cost of litigation eliminated
all of the Wedell's cash reserves and put them further into debt.

Ultimately, debt service for the money borrowed to expand production, the money
owed to vineyards for the expanded purchases of grapes and dwindling sales, caused
the Wedells to file this chapter 11 bankruptcy. I n 2017, the Wedells paid in excess of
$80,000 to service unsecured debt. This was a third of their gross winery revenue.

B.      Current Assets and Operations of Wedell Cellars

On April 11, 2018, when this case was filed, Wedell Cellars had the inventory described
on Exhibit G-1. The inventory had a historic cost of nearly $800,000 and comprised
2,745, 12 bottle cases and barrels of wine containing approximately 167, 12 bottle
case~.~




 Mrs. Wedell's mother Mary Jane Johnston, who would be considered an insider, is the holder of the largest
general unsecured claim.

 A review of the inventory of Wedell Cellars, exhibit G-1 reflects many cases of wine that are 2010, 2011
and 2012 vintage. While the wines drink well, wines more than three or four vintages old are generally
considered too old to be sold by a winery and have little or no resale value. One adjustment to inventory
value is reflect the minimal resale value of these older wines.
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 When this case was filed, debtors projected that the liquidation value of this wine would
 be, at most, $20 per case, or approximately $60,000, if buyers could be found. After
 payment of sales commissions, the net amount would be significantly less. The low
 value was due to the fact that wines from out of business wineries have, for the most
 part, little value in wholesale or retail markets.

 During the six months ending October 31, 2018, Mr. Wedell has successfully sold
 $133,691 in wine. The wine sold had a historic cost of $222,440. After costs of
 operating the winery, commissions and other costs of sale, the Wedells have produced
 net $97,500, from the operation of the winery. As a result, the chapter 11 plan
 proposes an initial distribution to creditors of $45,000, on the effective date of the
 plan.3

$80,768 of the wine sold in the last six months was to a major travel business, with
wliich Wedell Cellars has a long relationship. Debtor is regularly negotiating additional
sales to this valuable custonier.

Since the bankruptcy was ,Filed, Wedell Cellars has obtained representation by a
supportive wine broker. The broker is selling Wedell Cellars wines in California and
Tennessee. Mr. Wedell continues his active efforts to market the wine through his
connections in the southern California resta~~~rant
                                                  comm~~nity  and in commercial and
retail wine events. Since the case was filed Wedell Cellars has sold approximately
$7500 per month, between the efforts of Mr. Wedell and the broker.

Based on sales from the time the case was filed and projected through December 31,
2018, Wedell Cellars will have the December 31, 2018 inventory reflected on Exhibit G-
2. One key change in inventory, since the case was filed is ,that all of the wine in barrel
is now bottled and ready to be sold.

A profit and loss statement for the Wedell's reflecting income and expenses for the two
years preceding the filing of this bankruptcy for: Wedell Cellars; Mr. Wedell's accounting
practice; Mrs. Wedell's income from education and the Wedells' personal expenses, is
attached as exhibit D.

Debtors have begun liq~~idating   the relatively limited amount of winery equipment. The
most valuable piece of equipment is the forklift. Debtors have had the forklift for sale
for $8,500 for more than six months but have not had interest from a buyer. Debtors
have several fermentation tanks, also for sale. Debtors have sold all of the winery's
fermentation bins and barrels, for a total of less than $6,000 and all proceeds have
been deposited into the debtor in possession account. Debtors will contribute any
proceeds from sale of equipment to the amount paid to creditors. The addition will
have little effect on the total payout but will only increase the amount to creditors.

C.      Future operation of Wedell Cellars and Payment for the Chapter 11 Plan


3Based on accounts receivable and cash needs o f the business, $85,000 will be available on the effective
date of the chapter 11 plan. Debtors project attorney fees of approximately $45,000, with $40,000 paid
upon court approval and $500 per month paid for ten months
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 It is debtors' intention to continue vigorously marketing the wine owned by Wedell
 Cellars. Debtors' success, thus far, demonstrates that the wines have substantial value,
 if actively marketed. The range of vintages of the wine and the wine's reputation for
 aging well, making the wines much more marketable.

Debtors operated the winery profitably for many years. However, debtors' purpose in
operating the winery now is to obtain maximum return for the creditors from the
available inventory. I n order to do that, debtors have created a marketing plan and
pricing structure to sell the inventory within the term of the chapter 11 plan.

Debtors valued the wines that remain in inventory, on exhibit G-2. I n order to calculate
this figure, debtors applied a fifteen percent discount from the original wholesale prices
and an additional fifteen percent discount due to loss of value as the wines age, unsold.
Based on this valuation, debtors project that between the time this disclosure statement
is filed and the end of the sixty month term of the chapter 11 pla~i,all of the wine
reflected on exhibit G-2 will be sold, for a total of $238,000.

Debtors project costs totaling $113,845 will be incurred in corlnection with maintenance
and sale of the wine. Debtors project that operation of the winery during the term of
the chapter 11 plan will r e s ~ ~inl tadditional net cash flow of $140,155. Cash flow froni
annual operations of the winery is reflected on exhibit C, next to the title Wedell Cellars
Cash Flow. This amount will be distributed to creditors in monthly payments reflected
on exhibit A to the chapter 11 plan. Creditors that will receive payments under ,the
chapter 11 plan are listed on exhibit F.

Thus far, debtors' performance of the business plan has proceeded well and the wines
continue to sell at close to the predicted pace. This is reflected on the montt-lly
operating reports filed by debtors each month since the bankruptcy was filed.

The budget on exhibit C is based on income from three sources: Wedell Cellars; Mr.
Wedell's accounting practice; and Mrs. Wedell's teaching. The budget reflects that the
Wedells consume the income that they generate from Mr. Wedell's business and IYs.
Wedell's education income, in their normal living expenses.

On this basis, the Wedells propose funding distributions and their other obligations
under the chapter 11 plan, from income generated by Wedell Cellars.

D.     Real Property in which Debtors have an Interest

As reflected on the exhibit G-3 to the liquidation analysis, the Wedells own interests in
two homes: their home at 344 Equestrian Way, in Arroyo Grande, California (the
"Home") and a rental property in Burbank, California, owned with Mrs. Wedell's mother.

The Home has a large debt and substantial deferred maintenance. I n response to
objections by creditors, debtors obtained an appraisal of the Home, which valued the
property at $900,000, as of February 22, 2019. This value is $175,000 less than
debtors' estimate reflected in the initially filed chapter 11 disclosure statement. The
valuation was substantially influenced by issues with the condition of the Home.
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 Evidence of the value of the property will be provided by declaration of the appraiser,
 prior to the hearing on the disclosure statement. Any interested party may request a
 copy of the appraisal of the Home from debtors' attorney.

Evidence of the balance of the mortgage debt will be provided by declaration prior to
the hearing on the disclosure statement. The balance of the debt as of February 1,
2019 is $873,913.88.

It is unlikely that the residence has any net value, if sold, due to the large number of
repairs necessary to a large home. The Wedells are entitled to a homestead exemption
of $175,000, based on Mrs. Wedell's age at the time the case was filed. However, the
value of the home is hardly enough to require much of that exemption.

Debtors own a half interest and Mrs. Wedell's mother owns a half interest in a rental
property in Burbank, California, as reflected on exhibit G-3. As part of their efforts to
fund the winery expansion, the Wedells borrowed $168,000, against their interest in the
Burbank property. The Wedells received all of the proceeds of the loan. There has
been a steep increase in the value of the Burbar~kproperty. I f the property is sold,
however, tlie Wedells will orlly be able to pay off the loan. The balance of the money
they would receive will be paid in capital gains tax. Debtors project that they have no
net equity in the Burbar~kproperty.

E.     Treatment of Claims Resolved in Bankruptcy

Before the bankruptcy creditor Fiddlehead Cellars LP recorded an abstract of judgement
that affects debtors' residence. The Fiddleliead proof of claini asserts the claim is fully
secured. Debtors dispute that the clairr~is secured. Through extensive negotiations
debtors and Fiddlehead agreed to treatment the Fiddlehead claim in the manner
reflected in a stipulation filed with the court on May 24, 2019 class 1 B in tlie chapter
11 plan. $20,000 of the Fiddlehead claim is treated as secured. The claim will be paid
an initial distribution of $20,000 on the effective date. The $65,714.41 balance of the
claim will be treated and paid proportionally from the monthly payments made to class
4 general unsecured creditors.

Valley View Vintners, Inc. is owned by the Wedell's winemaker Kirby Andersen. I n the
schedules debtors provided for a claim of $25,000 for Mr. Anderson. Instead, Valley
View Vintners, Inc. filed a complex proof of claim, asserting that some portion of the
claim was entitled to treatment as a priority claim. Debtors filed an objection to the
Valley View Vintners, Inc. claim.

After extensive negotiations, debtors and Valley View Vintners, Inc. agreed that Valley
View Vintners, Inc.'s claim will be paid $1 0,000, at $1,000 per month, for the first ten
months after which Valley View Vintners, Inc. will be paid proportionally, based on a
$50,000 general unsecured claim.

As a result of ,the resolution of these two claims the amount of general unsecured debts
increased from $806,442.26, in the initially filed chapter 11 plan and disclosure
statement to $811,442.26.
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F.     Risks Associated with Confirmation of the Chapter 11 Plan

The primary risk in approving the chapter 11 plan is that Mr. Wedell is unable to
complete sales of the wines in the manner he proposes. However, to this time, the
Wedells have exceeded the projections they made when this case was filed. The
operations have been reduced to the simple and limited formula that was successful
before the expansion. The winery is now able to discount the wines to appeal to a
broader market, without losing the super premium identity. This should enable Mr.
Wedell to continue the trajectory of sales he has set to this point.

I f the Wedells' chapter 11 plan is not confirmed, the Wedells will be forced to convert
their case to one under chapter 7 of the bankruptcy code. Creditors would still receive
the initial $45,000 distribution and any other money received from wine sales, so far.
However, the balance of the wine will have little or no value and Mr. Wedell will
discontinue his efforts to sell the wine.

Beyond the wine, the Wedells have few assets of value, as reflected on the liquidation
analysis attached as exhibit G. Therefore, conversion to chapter 7 will result in
significantly less payment to creditors than the confirmed chapter 11 plan.

                                    I11
                         OWNERSHIP AND MANAGEMENT
                           OF DEBTORS' BUSINESS

Maurice and Susie Wedell will retain ownership and control of Wedell Cellars, which is a
sole proprietorship. Maurice Wedell will manage and operate Wedell Cellars. Mr.
Wedell is not seeking compensation for his services in operating Wedell Cellars. It is
anticipated that the winery will have no equity value when payments pursuant to the
chapter 11 plan are completed. Any assets that may remain, such as equipment, will
be sold and the proceeds will be distributed as an additional distribution to creditors.
No amount is provided for this eventuality, since any distribution is anticipated to be
niininial.


                                   IV
                      TAX CONSEQUENCES OF OPERATION


Debtors have substantial losses, that they anticipate will offset any income debtors
receive during the term of the chapter 11 plan. Debtors do not anticipate that the
proposed chapter 11 plan will have any identifiable tax consequences to debtors or the
chapter 11estate.
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                             EXHIBIT B
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                              MAURICE AND SUSIE WEDELL
                                  SECOND AMENDED
                                      CHAPTER 11
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                               DISCLOSLIRE STATEMENT
                                       EXHIBrr B

Debtors do not intend to file any litigation in connection with the instant bankruptcy.
Debtors do not anticipate any litigation being filed by any other party, with respect to the
instant bankruptcy.
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                            EXHIBIT C
I                                                                   Case 9:18-bk-10544-DSMaurice
                                                                                            Doc and
                                                                                                 120Susan
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                                                                                                            Wedell                                                                                                                   Desc                                   1
                                                                                         Chapter 11 Plan Exhibit A-1Page 16 of 44
                                                                                             Main  Document
                      Amount of      % o f Total
       Creditor         Claim                                                              --
                                                                                           Months 2-12                                 Months 13-24                  Months 25-36                  Months
                                                                                                                                                                                                   --     37-48                  Months 49-60              Total Dividend
                                                                                                   -
                                                                                                                                                                pp


                                                      initial                     Months 2-10     Month 11       Month
                                                                                                                 -
                                                                                                                 -     12
                                                    Distribution
                                                    -    -           Annual        Monthly        Monthl         Monthlv           nnnual       W                U                             mnd
                                                                                                  2                                                                           Monihly                       FOUL~            & n m          &nay

    American
    €<press
    National Bank       $5,522.70        0.68%           $190.03      $174.59           $14.49        $20.39          $23.79        $256.92           $21.41      $187.56           $15.63      $138.60           $11.58       $74.16              $6.18       $1.021.86

    American
    Express
    National Bank      $19.961.74         2.46%          $688.18      $630.95           $52.35        $73.75          $86.05        $929.28           $77.44      $678.36           $56.53      $501.24           $41.77      $268.08           $22.34          $3.696.09
    Sank of
    America            $16.674.37         2.05%          $575.26      $525.12           $43.55        $61.46          $71.71        $774.36           $64.53      $565.32           $47.11      $417.72           $34.81      $223.44           $18.62          $3,081.22
    Sank of
    Amer~ca,N.A.       $19,924.85         2.46%          $686.90      $630.95           $52.35        $73.75          $86.05        $929.28           $77.44      $678.36           $56.53      $501.24           $41.77      $268.08           $22.34          $3,694.81

    Bank of
    America. N.A.       $17,662.24        2.18%          $609.34      $558.77           $46.35        $65.36          $76.26        $823.44           $68.62      5601.20           $50.10      $444.24           $37.02      $237.60           $19.80          $3,274.59

    Sank of
    America, N.A.       $20,280.45        2.50%          $699.18       $640.66          $53.14        $74.95          $87.45        $944.40           $78.70      $689.40           $57.45      $509.40           $42.45      $272.52           $22.71          $3,755.56

    Sank of
    America, N.A.       $14,484.04        1.78%           $499.69      $457.26          $37.96        $53.36          $62.26        $672.36           $56.03      $490.80           $40.90      $362.64           $30.22      $194.04           $16.17          $2,676.79
    ETS
    Laboratories         $1,132.00        0.15%            $39.05       $36.75            $3.00        $4.50           $5.25          $56.64           $4.72       $41.40    -
                                                                                                                                                                                     $3.45        $30.60            $2.55      $16.32              $1.36          $220.76

    Francois Freres
    USA, Inc.              $699.79        0.02%            S24.1C       $17.50            $1.80         $0.60          $0.70           $7.56            $0.63        $5.52           $0.46         $4.08            $0.34        $2.16             $0.18           560.96
    Fiddlehead
    Cellars, LP         $65,714.41        8.10%        $20,000.00    $2,077.94          $172.42      $242.83         $283.33       $3,059.76          $254.98    $2,233.56          $186.13    $1,650.36          $137.53      $882.84          $73.57         $29,904.46


     Karl H Hesper      $35,000.00         4.31%        $1,207.50    $1,107.16           $91.91      $129.21         $150.76       $1,628.16          $135.68    $1,188.48           $99.04      $878.16           $73.18      $469.80          $39.15          $6,479.26


     Karl H Hesper      $94,665.73       11.67%         $3,265.96    $2,993.13          $248.34      $349.86          $408.21      $4,408.32          $367.36    $3,218.04          $268.17    $2.377.80          $198.15    $1.272.00          $106.00        $17,535.25


     Loanme. ~nc.       $74,917.65         9.23%        $2,584.15     $2,368.97         $196.60       $276.71         $322.86      $3,486.60          $290.55    $2,545.20          $212.10    $1,880.64          $156.72    $1.006.08             $83.84      $13.671.64
     Marylane
     Johnston          $188,457.61       23.23%         $6,501.78     $5,959.40         $494.49       $696.42         $812.57      $8,775.12          $731.26    $6,405.72          $533.81    $4,733.04          $394.42    $2,532.00          $211.00         $34,907.06


     Saxco lnt. LLC       $8.572.16        1.07%          $295.73      $272.73           $22.58        $32.08          $37.43        $404.16           $33.68      $295.08           $24.59      $218.04           $18.17      $116.64              $9.72        $1,602.38
     Tommaso
     Barletta            $58.815.07        7.25%         $2,029.11    $1,859.11         $154.24]      $217.35         $253.60       $2,738.64         $228.22    $1.999.20          $166.60]   $1,477.20          $123.10      $790.20             $65.85       $10,893.46
     Valley View
     Vintners            $50,000.00        6.16%         $1,000.00    $9,400.14        $1,000.00      $184.67         $215.47       $2,326.92         $193.91    $1.698.60          $141.55     $1,255.08         $104.59      $671.40


     Vincent Hearn       $57.267.12        7.06%         $1,97571     $1.810.94         $150.26       $211.65         $246.95       $2,666.88         $222.24    $1.946.76          $162.23    $1,438.56          $119.88      $769.56
     Wells Fargo
     Bank. N.A.           $2.189.52        0.30%            $75.53       $71.68            $5.80        $8.99          $10.49        $113.28            $9.44       $82.68            $6.89        $61.08           $5.09       $32.64              $2.72          $436.89
     Xceed
     Financial
     Credit Union         $9,115.50         1.12%          $314.48      $288.67           $23.99       $33.58          $39.18         $423.12          $35.26      $308.88           $25.74      $228.24            $19.02     $122.04             $10.17        $1,685.43
     Barrel Assoc
     international        $1.432.70        0.18%            $49.42       $45.99            $3.81        $5.40              $6.30       $68.04            $5.67       $49.68           $4.14        $36.72            $3.06       $10.56 -           $1.63          $269.41
     Carlson &
     Associates           $2.352.61        0.29%            $81.16       $74.63            $6.20        $8.69          $10.14        $109.56            $9.13       $79.92            $6.66       $59.04             $4.92      $31.56              $2.63          5435.87
     Jarvis Estate        $6,800.00        0.84%           $234.60      $214.67           $17.79       $25.18          $29.38        $317.28           $26.44      $231.60           $19.30      $171.12            $14.26      $91.56              $7.63        $1,260.83
     Pench Ranch
     Vneyards            $15.800.00         1.95%          $545.1C      $500.80           $41.57       $58.46          $68.21         $736.68          $61.39      $537.72           $44.81      $397.32           $33.11      $212.64             $17.72        $2.930.26
     Vincent N
     Spohn               $24,000.00        2.96%           $828.00      $758.83           $62.95        $88.74        $103.54   $1,118.28            $93.19         $816.24          $68.02       $603.12        $50.26         $322.92            $26.91        $4,447.39
     Totals             $811.442.26      100.00%        $45,000.00   $33,477.34        $2,997.94     $2,997.94       $3,497.94 $37.775.04         $3,147.92      $27,575.28      $2.297.94     $20,375.28     $1,697.94      $10.899.84         $908.32        $175,102.78
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                             EXHIBIT D
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                                                 WEDELL CELLARS
                    INCOME STATEMENT FOR THE PERIOD JANUARY I , 2 0 16 THRU DECEMBER 3 1 , 2 0 16

                                                                          WEDEiL                        WEDELL
                                                                          CELLARS                      FINANCIAL

GROSS SALES


 LESS SAMPLES A N D DEPLE3lON ALLOWANCES


        N O SALES


COST O F GOODS SOLD


                            -
 BEGINNING INVENTORY 0 1-0I 1 6
 PURCHASES A N D 2 0 1 6 CAPITALIZED COSTS
 ENDING INVENTORY 1 2 - 3 1 - 16

        COST O F GOODS SOLD



GROSS PROFIT



GENERAL AND OVERHEAD EXPENSES


  AUTOMOBILE &TRUCK EXPENSES
  OFFICE SUPPLIES
  INSURANCE
  REPAIRS 6. MAINTENANCE
  SALES COMMISSIONS
  TAX & LICENSES
  SHIPPING
  STORAGE & RENT
  TRAVEL
  ENTERTAINMENT E; PROMOTON
  DUES & SUBSCRIPTIONS
  TELEPHONE & I N T E R N O ACCESS
  BANK CHARGES & CREDIT CARD DISCOUNTS
  LEGAL EXPENSE
  INTEREST EXPENSE



 TOTAL GENERAL A N D OVERHEAD EXPENSES



 NET INCOME
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SECURED CLAIMS

 CLASS 1A       DESCRIPTION                  INSIDER   IMPAIRMENT               TREATMENT
                Secured Claim of:            No        None                     Payment Interval:
                Bank of America


                $900,000.00
                Description:                                                    Balloon Payment:
                344 Equestrian Way
                Arroyo Grande, CA            --
                Priority of Security                                            Begin Date:
                Interest:



            1
            I
                1st
                Adjusted Principal
                Owed:
                $899,552.99
                Total Amount of          1                                  1
                                                                                7
                                                                                End Date:


                                                                                Treatment of
                Claim:                                                          Lien:
                $899,552.99                                                     Secured

 1B             DESCRIPTION                  INSIDER   IMPAIRMENT
                Secured Claim of:                      -the claim was           Payment Interval:
                Fiddlehead Cellars, LP                 filed as secured.        Regular monthly
                Proof of Claim No. 5                   Debtors and              payments after
                                                       Fiddlehead Cellars       initial $20,000
                                                       LP agreed to treat       distribution
                                                       $20,000 of the
                                                       claim as secured
                                                       and $65,714.41
                                                       as a general
                                                       unsecured claim

                Collateral Value:                                                Payment Amount:
                $900,000.00                                                      $20,000 of the
                                                                                claim will be
                                                                                treated as
                                                                                secured. The
                                                                                claim will be paid
                                                                                an initial
                                                                                distribution of
                                                                                $20,000 on the
                                                                                effective date.
                                                                                The $65,714.41
                                                                                balance of the
                                                                                claim will be
                                                                                treated and paid
                                                                                proportionally from
                                                                                the monthly
                                                                                payments made to
                                                                                class 4 general
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                                                                                 1   unsecured
                                                                                     creditors.
             Description:                                                            Balloon Payment:
             Abstract of Judgment                                                    None
             on real property
             Priority of Security                                                    Begin Date:
             Interest:                                                               Effective date of
             Junior                                                                  plan.
             Adjusted Principal                                                      End Date:
             Owed:                                                                   Date of final plan
             $85,714.41                                                              payment
             Total Amount of                                                         Treatment of
             Claim:                                                                  Lien:
             $85,714.41                                                              Partially secured

             DESCRIPTION                      INSIDER   IMPAIRMENT                     TREATMENT
 CLASS 2A
             Secured Claim of:                          This claim will be paid        Payment
             First National Bank                        monthly according to its
                                                        terms. The claim is past
                                                        due and debtors are
                                                        seeking to refinance their
             $237,500.00                                debt.
                                                                                       Amount:
                                                                                       $1,645.00
             Description:                                                              Balloon
             365 W. Alameda Ave, #204                                                  Payment:
             Burbank, California                                                       September 1,
                                                                                       2018
                                                                                       Begin Date:


            I Adjusted Principal Owed:    ~                                           ) End Date:

             Total Agreed Arrearage:                                                   Interest Rate
                                                                                       O/o:

                                                                                       Treatment of
                                                                                       Lien:
                                                                                       Secured

PRIORrrY CLAIM

CLASS 3 A       DESCRIPTION             1 INSIDER I IMPAIRMENT
                Priority Claim of:
                Valley View Vintners,                                                Monthly
                Inc.
                Proof of Claim No. 22
                Collateral Value:                       Valley View              Payment Amount:
                                                        Vintners, Inc.           $1,000 per month
                                                        ('VW") filed a           for ten months.
                                                        proof of claim for       Payment on a
                                                        in excess of             $50,000 general
                                                        $115,000, of             unsecured claim, for
                                               2
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                                               which a portion       months eleven
                                               was asserted to       through 60 of the
                                               be priority, based    chapter 11 plan.
                                               on the provision
                                               of post petition
                                               services to
                                               debtors. A
                                               portion of the
                                               debt will be
                                               treated as priority
                                               and VW shall be
                                               paid $10,000, at
                                              the rate of $1,000
                                               per moth for the
                                              first ten months of
                                              after the effective
                                              date of the
                                              chapter 11 plan.
                                              The parties
                                              agreed that the
                                              balance of the
                                              VW claim shall be
                                              $50,000 which will
                                              be treated and
                                              paid as a class 4
                                              general unsecured
                                              creditors for
                                              months eleven
                                              through 60 of the
                                              chapter 11 plan

             Description:                                            Balloon Payment:
             Claim for services                                      $1,000 for ten
                                                                     months

             Priority Security                                       Begin Date:
             Interest: None                                          Effective date of
                                                                     chapter 11 plan

                                                                     End Date:
                                                                     Month 60 of the
                                                                     chapter 11plan

             Total Amount of                                         Treatment of
             Claim:                                                  Lien:
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                           EXHIBIT F
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Proofs of Claim                 Amount of Claim Percentage of Total Debt
American Express IVational Ba   $     5,522.70                     0.68%
American Express National Ba    $    19,961.74                     2.46%
Bank o f America                $    16,674.37                     2.05%
Bank o f America, N.A.          $    19,924.85                     2.46%
Bank of America, N.A.           $    17,662.24                     2.18%
Bank o f America, N.A.          $   20,280.45                      2.50%
Bank of America, N.A.           $    14,484.04                     1.78%
ETS Laboratories                $     1,132.00                     0.15%
Fancois Freres USA, Inc.        $       699.79                     0.02%
Fiddlehead Cellars, LP          $   65,714.41                      8.10%
Karl H Hesper                   $   35,000.00                      4.31%
Karl H Hesper                   $   94,665.73                    11.67%
Loanme, Inc.                    $   74,917.65                      9.23%
Mary Jane Johnston              $  188,457.61                    23.23%
Saxco Int LLC                   $     8,572.16                     1.07%
Tommaso Barletta                $   58,815.07                      7.25%
Valley View Vintners/Avisa      $   50,000.00                      6.16%
Vincent Hearn                   $   57,267.12                      7.06%
Wells Fargo Bank, N.A.          $     2,189.52                     0.30%
Xceed Financial Credit Union    $     9,115.50                     1.12%

Unsecured Creditors: Schedule F
Barrel Assoc International   $          1,432.70
Carlson & Associates         $          2,352.61
Jarvis Estate                $          6,800.00
Pench Ranch Vineyards        $         15,800.00
Vincent M Spohn              $         24,000.00
TOTAL                                $811,442.26
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                                EXHIBIT G
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                                   Liquidation Analysis
                    EXHIBIT G TO CHAPTER 11 DISCLOSURE STATEMENT
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 EXEMPT ASSETS                                        ASSET VALUE AT LIOUIDATION


 CURRENT ASSETS

 a. Cash on Hand

 TOTAL EXEMPT CURRENT ASSETS:

 OTHER ASSETS

 a. 100 Ownership of a residence located at
 344 Equestrian Way, Arroyo Grande, CA
 Value: $900,000.00
 Secured Debt: $873,913.88

 b. Non operational 1979 Corvette
 Value: $800.00

 c. Non operational 1991 Corvette
 Value: $800.00

 d. 1999 Chevrolet Suburban
 Value: $1,000.00

 e. Household furnishings
 Value: $1,500.00

 f. Miscellaneous electronics
 Value: $500.00
 g. Wearing apparel
 Value: $500.00

 h. Watch
 Value: $500.00

 i. Diamond ring
 Value: $1,880.00

j. Retirement accounts
 1. IRA
Value: $1.54
2. Profit Sharing Plan
Value: $290.53
3. IRA
Value: $15.50
4. Sheltered retirement
Value: $1,659.11
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                    EXHIBIT G TO CHAPTER 11 DISCLOSURE STATEMENT
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                                                      ASSET VALUE AT LIOUIDATION
 k. Alcoholic Beverage License                                              $0.00
 Value: $0.00

 I. Alcoholic Beverage License
 Value: $0.00

 m. Alcohol and Tobacco Tax and Trade Bureau
 Basic Permit
 Value: $0.00

 n. California State Board of Equalization Seller's
 Permit
 Value: $0.00

 o. City of Arroyo Grande Business License
 Value: $0.00

 p. Food and Agriculture Market License
 Value: $0.00

 q. Athene Annuity and Life Company Life
 Insurance
 Value: $3,418.36

 r. Athene Annuity and Life Company Life
 Insurance
 Value: $6,836.72

 s. Guardian Life Insurance
 Value: $0.00

 t. Lincoln National Life Insurance
 Value: $0.00




             TOTAL EXEMPT OTHER ASSETS:


TOTAL EXEMPT ASSETS:
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                                    Liquidation Analysis
                     EXHIBIT G TO CHAPTER 11 DISCLOSURE STATEMENT
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 NON-EXEMPT ASSETS                                     ASSET VALUE AT LIOUIDATION

 CURRENT ASSETS
 a. Cash on Hand1                                                       $82,025.00
 b. Accounts Receivable                                                   $4,752.25
 TOTAL CURRENT NON-EXEMPT ASSETS:                                        $86,777.25


 OTHER ASSETS

 A. Fifty Percent (50°/o) ownership of a residential
 rental located at 365 W. Alameda Avenue, #204,
 Burbank, CA
 Value: $240,3 13.00
 Secured Debt: $ 169,364.38

 B. Wine Inventory
 Value: $30,000.00

 C. Wine Equipment
 Value: $10,000.00

 TOTAL NON-EXEMPT OTHER ASSETS:
 TOTAL NON-EXEMPT ASSETS:
 Less: Estimated chapter 7 trustee fees and
 expenses
 Less: Estimated chapter 11administrative
 expenses

 NET LIQUIDATION VALUE OF NON-EXEMPT
 ASSETS
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                                 Liquidation Analysis
                  EXHIBIT G TO CHAPTER 11 DISCLOSURE STATEMENT
                                 (Second Amended)




 ANALYSIS OF PAYOUT OF UNSECURED
 CLAIMS
 Total Amount of Allowed Unsecured Claims:                         $811,442.26
 O/o of Claims which Unsecured Creditors
 would receive or retain in a Chapter 7
 liquidation:                                                           8.7%
 010 of Allowed Unsecured Claims to be paid
 through Chapter 11 plan:                                               18.49%


 Cash debtors will have on hand by Effective Date          $85,000.00
 To Pay: Administrative claims                            -$40,000.00
  Balance after paying these amounts ..................    $45,000.00
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                                                                                WEDELL CELLARS WlNE INVENTORY

                                                                                         A S O F APRIL I I . 2 0 18

                                                                               HISTORICAL        HISTORICAL          LIQUIDATION   LIQUIDATION      WHOLESALE   VALUE AT WHOLE-
                                                              CASES               COST           COST TOTAL             PRICE        VALUE              PRICE     S A L E PRICING
FINISHED WINE

 2 0 1 2 PlNOT NOlR WAVERTREE S B C 1 2 x 7 5 0


 2 0 1 4 PlNOT NOlR S R H A M U S E BOUCHE 1 2 x 7 5 0


 2 0 10 PlNOT NOlR HILLSIDE VINEYARD 1 2 x 7 5 0


 2 0 1 2 PlNOT NOlR STA R T A H i L L S 1 2 x 7 5 0
 2 0 1 3 PINOT NOlR STA RrrA H I L L S 1 2 x 7 5 0
 2 0 1 4 PlNOT NOlR STA RITA HILLS I 2 x 7 5 0


 2 0 1 I PlNOT NOlR S R H B A R N F I N D 1 2 x 7 5 0
 2 0 1 2 PlNOT NOlR SRH B A R N FlND 1 2 x 7 5 0
 2 0 1 4 PlNOT NOlR SRH B A R N FlND 1 2 x 7 5 0


 2 0 I I PlNOT NOlR SRH ROW FlND 1 2 x 7 5 0
  2 0 1 4 PlNOT NOlR SRH ROW FlND 1 2 x 7 5 0


  2 0 13 VlOGNiER SANTA YNEZ VALLEY 1 2 x 7 5 0
  2 0 14 VlOGNlER SANTA YNEZ VALLEY 1 2 x 7 5 0


  2 0 13 CHARDONNAY SIERRA M A D R E 1 2 x 7 5 0
  2 0 1 4 CHARDONNAY SIERRA MADRE I 2 x 7 5 0
  2 0 1 5 CHARDONNAY SIERRA M A D R E I 2 x 7 5 0


  2 0 1 2 SYRAH ARROYO GRANDE 1 2 x 7 5 0
  2 0 13 SYRAH ARROYO GRANDE 1 2 x 7 5 0
  2 0 1 4 SYRAH ARROYO GRANDE 1 2 x 7 5 0


                                   TOTAL FINISHED WlNE


 WlNE IN B A R R E L & T A N K (BULK)                           CASE            PROJECTED          PROJECTED
                                                             EQUIVALENTS       FINISHED COST     FINISHED COST


                           2016
   2 0 16 SYRAH ARROYO GRANDE 1 2 x 7 5 0
   2 0 I 6 CHARDONNAY SIERRA M A D R E 1 2 x 7 5 0



                                        TOTAL B U L K WlNE


                   TOTAL FINISHED A N D WINE IN B U L K                2,941                          8 2 1.960.00
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                          EXHIBIT G-2
                             Case 9:18-bk-10544-DS            Doc 120 Filed 07/19/19 Entered 07/19/19 16:43:01           Desc
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                                                                  WEDELL CELLARS WlNE INVENTORY

                                                                PROJECTED A S OF DECEMBER 3 1   , 2 0 18


                                                                 HISTORICAL   HISTORICAL   LIQUIDATION     LIQUIDATION      WHOLESALE   VALUE AT WHOLE-
                                                      CASES        COST       COST TOTAL      PRICE          VALUE              PRICE     S A L E PRICING
FINISHED WlNE

 2 0 1 2 PlNOT NOlR WAVEFTREE SBC 1 2 x 7 5 0


 2 0 1 4 PlNOT NOlR SRH AMUSE BOUCHE 1 2 x 7 5 0


 2 0 I 0 PlNOT NOlR HILLSIDE VINEYARD 1 2 x 7 5 0


 2 0 1 2 PlNOT NOlR STA RITA HILLS 1 2 x 7 5 0
 2 0 1 3 PlNOT NOlR STA RITA HILLS I 2 x 7 5 0
 2 0 1 4 PlNOT NOlR STA RITA HILLS I 2 x 7 5 0


 2 0 I I PlNOT NOlR SRH BARN FlND 1 2 x 7 5 0
 2 0 1 2 PlNOT NOlR SRH BARN FlND 1 2 x 7 5 0
 2 0 1 4 PlNOT NOlR SRH BARN FlND 1 2 x 7 5 0


 2 0 1 I PlNOT NOlR SRH ROW FlND I 2 x 7 5 0
 2 0 1 4 PlNOT NOlR SRH ROW FlND 1 2 x 7 5 0


 2 0 1 3 VIOGNIER SANTA YNEZ VALLEY 1 2 x 7 5 0
 2 0 1 4 VIOGNIER SANTA YNEZ VALLEY 1 2 x 7 5 0


  2 0 1 3 CHARDONNAY SIERRA MADRE 1 2 x 7 5 0
  2 0 I 4 CHARDONNAY SIERRA MADRE 1 2 x 7 5 0
  2 0 1 5 CHARDONNAY SIERRA MADRE 1 2 x 7 5 0
  2 0 1 6 CHARDONNAY SIERRA MADRE 1 2 x 7 5 0


  2 0 1 2 SYRAH ARROYO GRANDE 1 2 x 7 5 0
  2 0 1 3 SYRAH ARROYO GRANDE 1 2 x 7 5 0
  2 0 1 4 SYRAH ARROYO GRANDE 1 2 x 7 5 0
  2 0 I 6 SYRAH ARROYO GRANDE 1 2 x 7 5 0


                                TOTAL FINISHED WlNE
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                           EXHIBIT 6-3
                Case 9:18-bk-10544-DS   Doc 120 Filed 07/19/19 Entered 07/19/19 16:43:01            Desc
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MAURICE & SUSAN WEDELL                       BURBANK CONDOMINIUM                                   PRIMARY RESIDENCE
                                             365 W ALAMEDA AVE #204                                344 EQUESTRIAN WAY
LIQUIDATION VALUE OF REAL ESTATE HOLDING     BURBANK 91506                                         ARROYO GRANDE 93420
                                                            MAURICE &             MARY JANE               MAURICE &
                                                 TOTAL    SUSAN WEDELL            JOHNSTON              SUSAN WEDELL
                                                               5 01
                                                                  '0                 50%                    10 0%

CURRENT MARKET VALUE                              475,000.00     237,500.00         237,500.00               1,075,000.00

    SELLING EXPENSES                              (38,000.00)    (19,000.00)         (19,000.00)               (86,000.00)

    LESS REPAIRS NEEDED PRIOR TO SALE
    REPAIR ROOF & SKYLIGHTS, REPAIR PATIO DECK, REPAIR WATER DAMAGE LOWER LEVEL

NET SALES PROCEEDS                                437,000.00     21 8,500.00         21 8,500.00               869,000.00

     OUTSTANDING LOAN BALANCE                                    (171,248.59)                                 (881,725.95)

 SALES PROCEEDS BEFORE TAXES                                       47,251.41         21 8,500.00                (12,725.95)

     PURCHASE PRICE                                116,994.00      58,497.00          58,497.00                 825,000.00


     LESS DEPRECIATION                             (81,000.00)    (40,500.00)         (40,500.00)

     TAX BASIS OF PROPERTY                          35,994.00      17,997.00           17,997.00

 TAXABLE PROFIT ON SALE                            401,006.00     200,503.00          200,503.00


      FEDERAL TAX ON PROFIT @
                            5% I

      CALIFORNIA TAX ON PROFIT @9.30h                              (18,646.78)         (18,646.78)


  NET CASH PROCEEDS OF SALE                                          (1,470.82)       169,777.77
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                                                                          Plaintiff(s).




                                  PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. lMy business address in:

 1042 Pacific Street Suite D
 San Luis Obispo, CA 93401

 A true and correct copy of the foregoing document described SECOND AMENDED CHAPTER 11 DISCLOSURE
 STATEMENT will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
 2(d); and (b) in the manner indicated below:


I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF") - Pursuant to controlling General
Order(s) and Local Bankruptcy Rule(s) ("LBR"), the foregoing document will be served by the court via hlEF and hyperlink
to the document. On July 19, 2019 , 1 checked the CMIECF docket for this bankruptcy case or adversary proceeding
and determined that the following person(s) are on the Electronic Mail Notice List to receive NEF transmission at the email
address(es) indicated below:

        United States Trustee (ND)            ustpregionl6.nd.ecf@usdoj.gov
         Brian D Fittipaldi                   brian.fittipaldi@usdoj.gov



                                                                              Service information continued on attached page

II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL(indicate method for each person or entity served):
On July 19, 2019 1 served the following person(s) and/or entity(ies) at the last known address(es) in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States Mail, first
class, postage prepaid, and/or with an overnight mail service addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                         [XI Service information continued on attached page
Honorable Deborah J. Saltzman
United States Bankruptcy Court
1415 State Street - Courtroom 202
Santa Barbara, CA 93101


Ill. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAlL (indicate method for each person or
entitv served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on          I served the following person(s) and/or
entity(ies) by personal delivery, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on the judge will be
completed no later than 24 hours after the document is filed.

                                                                              Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.



July 19,2019                   Ryan S. Livigni
 Date                           Type Name



                                                    This form is mandatory.
January 2009                                                                                                     F 901 3-3.1
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                    M a u r i c e Leo Wedell
                    344 E q u e s t r i a n Way
                    A r r o y o G r a n d e , CA 9 3 4 2 0


                   Susan E l i z a b e t h Wedell
                   344 E q u e s t r i a n Way
                   A r r o y o G r a n d e , CA 93420


                  Vaughn C. T a u s
                  T h e Law O f f i c e o f Vaughn C. T a u s
                  1042 P a c i f i c S t r e e t
                  Suite D
                  S a n L u i s O b i s p o , CA 9 3 4 0 1


                  American Express
                  PO Box 0 0 0 1
                  L o s A n g e l e s , CA 9 0 0 9 6 - 8 0 0 0


                 American Express
                 PO Box 0 0 0 1
                 L o s A n g e l e s , CA 9 0 0 9 6 - 8 0 0 0


                 AT&T U n i v e r s a l C a r d
                 PO Box 7 8 0 4 5
                 P h o e n i x , AZ 8 5 0 6 2 - 8 0 4 5


                AT&T U n i v e r s a l C a r d
                PO Box 7 8 0 4 5
                P h o e n i x , AZ 8 5 0 6 2 - 8 0 4 5


                Athene Annuity
                7 7 0 0 M i l l s C i v i c Pkwy
                West Des M o i n e s , IA 5 0 2 6 6 - 3 8 6 2
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                   A t h e n e A n n u i t y a n d L i f e Company
                   7 7 0 0 M i l l s C i v i c Pkwy
                   West D e s M o i n e s , 7A 5 0 2 6 6 - 3 8 6 2


                   A t h e n e A n n u i t y a n d L i f e Company



                   Athene Annuity and L i f e Insurance



                  Bank o f America
                  PO Box 1 5 0 1 9
                  W i l m i n g t o n , DE 1 9 8 8 6 - 5 0 1 9


                 Bank o f America
                 PO Box 1 5 0 1 9
                 W i l m i n g t o n , DE 1 9 8 8 6 - 5 0 1 9


                 Bank o f America
                 PO Box 1 5 0 1 9
                 W i l m i n g t o n , DE 1 9 8 8 6 - 5 0 1 9


                Bank o f America
                PO Box 1 5 0 1 9
                W i l m i n g t o n , DE 1 9 8 8 6 - 5 0 1 9


                Bank o f America
                PO Box 1 5 0 1 9
                W i l - m i n g t o n , DE 1 9 8 8 6 - 5 0 1 9
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                    Bank o f A m e r i c a
                    PO Box 3 1 7 8 5
                    Tampa, FL 3 3 6 3 1 - 3 7 8 5


                   Bank o f A m e r i c a
                   PO Box 3 1 7 8 5
                   Tampa, FL 3 3 6 3 1 - 3 7 8 5


                   Barrel Associates International
                   21.80 Oak K n o l l A v e n u e
                   N a p a , CA 9 4 5 5 8


                  Bradley Fisher
                  10830 Jasmine Drive
                  S c o t t s d a l e , AZ 8 5 2 5 5


                  Bryan G P a u l
                  3 6 1 0 1 N 29th D r i v e
                  P h o e n i x , AZ 8 5 0 8 6


                 C a p i t a l O n e , N . A.
                 PO Box 7 1 0 8 7
                 C h a r l o t t e , MC 2 8 2 7 2 - 1 0 8 7


                 Carlson & Associates
                 1439 G r o v e r S t r e e t
                 H e a l d s b u r g , CA 9 5 4 4 8


                Chase
                Cardmember S e r v i c e
                PO Box 9 4 0 1 4
                P a l a t i n e , I L 60094-4014
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                   Chase
                   Cardmember S e r v i c e
                   PO Box 9 4 0 1 4
                   P a l a t i n e , I L 60094-4014


                  Chase
                  Cardmember S e r v i c e
                  PO Box 9 4 0 1 4
                  P a l a t i n e , I L 60094-4014


                  Chase
                  Cardmember S e r v i c e
                  PO Box 9 4 0 1 4
                  P a l a t i n e , I L 60094-4014


                 Chase
                 Cardmember S e r v i c e
                 PO Box 9 4 0 1 4
                 P a l a t i n e , I L 60094-4014


                 Chase
                 Cardmember S e r v i c e
                 PO Box 9 4 0 1 4
                 P a l a t i n e , I L 60094-4014


                Chase
                Cardmember S e r v i c e
                PO Box 9 4 0 1 4
                P a l a t i n e , I L 60094-4014


                C i t i Cards
                PO Box 7 8 0 1 9
                Phoenix, AZ 85062-8019


               Discover
               PO B o x 5 1 9 0 8
               Los Angeles,         CA 9 0 0 5 1 - 6 2 0 8
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                  Discover
                  PO Box 51908
                  Los Angeles, CA 90051-6208

                  Discover
                  PO Box 51908
                  Los Angeles, CA 90051-6208


                  ETS Laboratories
                  Accounting Department
                  899 Adams Street, Sui~teA
                  Saint Helena, CA 94574


                 Fiddlehead Cellars
                 1597 E Chestnut Ave
                 Lompoc, CA 93436

                 First National Bank
                 PO Box 30112
                 Lansing, MI 48909-7612

                 Francoise Freres USA, Znc.
                 505 29th Avenue
                 San Francisco, CA 94121-2818

                GM Card
                Captial One, N.A.
                PO Box 71087
                Charlotte, NC 28272-1087

                Guardian Life
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                   Jarvls Estate
                   2 9 7 0 M o n t i c e l l o Road
                   Napa, CA 9 4 5 5 8


                   Karl H Hesper
                   755 Via A i r o s a
                   S a n t a B a r b a r a , CA 9 3 1 1 0


                  Karl H Hesper
                  755 Via A i r o s a
                  Santa Barbara,           CA 9 3 1 1 0


                  Kirby Anderson
                  A v i s a Wine D e s i g n
                  PO Box 1 3 7 8
                  A r r o y o G r a n d e , CA 9 3 4 2 1


                 La E n c a n t a d a V i n e y a r d
                 H i l l s i d e R o a d , LLC
                 690 Alamo P i n t a d o R o a d
                 S o l v a n g , CA 9 3 4 6 3


                 Loanme, I n c .
                 1900 S. S t a t e C o l l e g e Boulevard
                 S u t i e 300
                 A n a h e i m , CA 9 2 8 0 6


                Mary J a n e J o h n s t o n
                5257 C o l d w a t e r C a n y o n e Ave
                Van N u y s , CA 9 1 4 0 1


                Mary J a n e J o h n s t o n
                5257 U n i t D, C o l d w a t e r Canyon
                S h e r m o n O a k s , CA 9 1 4 0 1
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                    Pench Ranch V i n e y a r d s
                    1 9 0 9 West H i g h w a y 2 4 6
                    B u e l l t o n , CA 9 3 4 2 7


                   R a n c h o La V i n a
                   PO Box 3 8
                   B u e l l t o n , CA 9 3 4 2 7


                   S a x c o I n t , LLC, D e m p t o s G l a s s
                   Department #34538
                   PO Box 3 9 0 0 0
                   S a n F r a n c i s c o , CA 9 4 1 3 9


                  S c h u e r i n g Zimmerman & D o y l e LLP
                  100 U n i v e r s i t y Avenue
                  S a c r a m e n t o , CA 9 5 8 2 5


                  Tornmaso B a r l e t t a
                  9 6 8 S o u t h W e s t l a k e B l v d $4
                  T h o u s a n d O a k s , CA 9 1 3 6 2


                 Vincent Hearn
                 6077 Burgundy Avenue
                 R a n c h o C u c a m o n g a , CA 9 1 7 3 7


                 Vincent M Spohn
                 1005 Jefferson S t r e e t
                 Napa, CA 9 1 5 8 1 - 0 7 4 8


                Wells F a r g o
                PO Box 5 1 1 9 3
                Los Angeles,          CA 9 0 0 5 1 - 5 4 9 3
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                   Westerly Estate LLC
                   c/o C&D llc
                   690 Alamo Pintado Road
                   Solvang, CA 93463


                   Xceed Financial Credit Union
                   888 N. Nash Street
                   El Segundo, CA 90245


                   Youngs Market Company
                   14402 Franklin Avenue
                   Tustin, CA 92780
